                         Case 2:20-cv-02073 Document 1-2 Filed 11/12/20 Page 1 of 1

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                       District
                                                __________      of Nevada
                                                           District of __________

                        Sonya Z. Duex                            )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No.
                                                                 )
                                                                 )
  Las Vegas Resort Holdings, LLC dba Sahara Las
                                                                 )
                      Vegas
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)

                                       Las Vegas Resort Holdings, LLC d/b/a Sahara Las Vegas
                                       C T Corporation System
                                       701 S. Carson St., Suite 200 Carson City, NV 89701



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Randazza Legal Group, PLLC
                                       2764 Lake Sahara Drive, Suite 109
                                       Las Vegas, NV 89117



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK OF COURT


Date:             11/12/2020
                                                                                      Signature of Clerk or Deputy Clerk
